                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at KNOXVILLE



 MICHAEL CROWL                                      )
                                                    )
               Petitioner,                          )
                                                    )
 v.                                                 )       3:04-cr-136
                                                    )       3:07-cv-07
                                                    )       Jordan
                                                    )
 UNITED STATES OF AMERICA                           )
                                                    )
               Respondent.                          )



                                      MEMORANDUM


        This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

 filed by petitioner Michael Crowl ("Crowl"). For the following reasons, the § 2255 motion

 will be DENIED and this action will be DISMISSED.




 I. Standard of Review


        This court must vacate and set aside Crowl's conviction upon a finding that "there has

 been such a denial or infringement of the constitutional rights of the prisoner as to render the

 judgment vulnerable to collateral attack." 28 U.S.C. § 2255. To prevail under § 2255,



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 Crowl "must show a 'fundamental defect which inherently results in a complete miscarriage

 of justice,' or, an error so egregious that it amounts to a violation of due process." United

 States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (quoting Hill v. United States, 368 U.S.

 424, 428 (1968)).

          Under Rule 8 of the Rules Governing Section 2255 Proceedings In The United States

 District Courts, the court is to determine after a review of the answer and the records of the

 case whether an evidentiary hearing is required. If the motion to vacate, the answer and the

 records of the case show conclusively that Crowl is not entitled to relief under § 2255, there

 is no need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir.

 1986).




 II.      Factual Background


          Crowl pleaded guilty to possession of ammunition by a convicted felon, in violation

 of 18 U.S.C. § 922(g)(1). He was sentenced to a term of imprisonment of 57 months. Crowl

 did not appeal his sentence. In support of his § 2255 motion to vacate sentence, Crowl

 alleges the following: (1) he received ineffective assistance of counsel because his attorney

 never gave him any paperwork pertaining to his case, and (2) he received an enhancement

 to his sentence based upon a factor that was not included in the indictment.




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 III.   Discussion



                              A. Ineffective Assistance of Counsel


        Crowl alleges he received ineffective assistance of counsel because he "was never

 give any paperwork pertaing [sic] to my case (ie) indictment, discovery, plea agreement.

 Upon several requests before, during & after the case no paperwork was provided at all."

 [Criminal Action No. 3:04-cr-136, Court File No. 90, Motion under § 2255, p. 5]. In

 Strickland v. Washington, 466 U.S. 668 (1984), the United States Supreme Court established

 a two-part standard for evaluating claims of ineffective assistance of counsel:

        First, the defendant must show that counsel's performance was deficient. This
        requires showing that counsel made errors so serious that counsel was not
        functioning as the "counsel" guaranteed the defendant by the Sixth
        Amendment. Second, the defendant must show that the deficient performance
        prejudiced the defense. This requires showing that counsel's errors were so
        serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

 Id. at 687.

        To establish that his attorney was not performing "within the range of competence

 demanded of attorneys in criminal cases," McMann v. Richardson, 397 U.S. 759, 771 (1970),

 Crowl must demonstrate that the attorney's representation "fell below an objective standard

 of reasonableness." Strickland v. Washington, 466 U.S. at 687-88. In judging an attorney's

 conduct, a court should consider all the circumstances and facts of the particular case. Id.

 at 690. Additionally, "a court must indulge a strong presumption that counsel's conduct falls

 within the wide range of reasonable professional assistance; that is, the defendant must

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 overcome the presumption that, under the circumstances, the challenged action 'might be

 considered sound trial strategy.'" Id. at 689 (quoting Michel v. Louisiana, 350 U.S. 91, 101

 (1955)).

        The issue is whether counsel's performance "was so manifestly ineffective that defeat

 was snatched from the hands of probable victory." United States v. Morrow, 977 F.2d 222,

 229 (6th Cir. 1992) (en banc). Because he is seeking relief under § 2255, Crowl bears the

 burden of proving by a preponderance of the evidence that his counsel was deficient. See

 Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).

        Crowl's written, signed plea agreement contained the following:

                The Defendant acknowledges that he has read the indictment and fully
        understands the charges therein and is pleading guilty because he is, in fact,
        guilty. The Defendant and his attorney specifically acknowledge and certify
        that his attorney has explained each of the elements which the government
        would be required to prove beyond a reasonable doubt with respect to each
        offense to which he is pleading. The Defendant further acknowledges and
        certifies that he understands the elements that the government would be
        required to prove beyond a reasonable doubt with respect to each offense to
        which he is pleading.

 [Criminal Action No. 3:04-cr-136, Court File No. 56, Plea Agreement, p. 2, ¶ 4].

        In his agreed factual basis for the plea, also written and signed, Crowl stipulated to

 the following facts:

               On April 15, 2004, Officers of the Anderson County Sheriff's
        Department responded to a burglary of the residence of Gary Marlow. Entry
        was made through the back door of the house and several items were stolen,
        including one Rossi .38-caliber revolver and one SKS-type rifle. The
        Anderson County Crime Scene Unit processed the scene and located two
        ammunition boxes that were moved from the living room into another room of


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      the house. The ammunition boxes were fingerprinted and the prints on the box
      were identified as belonging to James Dotson.

              On April 16, 2004, two men entered the SuperTarget and shopped for
      a cell phone and prepaid phone card. Dotson purchased the cell phone and
      prepaid phone card using a check in the name of Gary Marlow. The men were
      observed leaving the SuperTarget together and entering a vehicle parked
      outside. A store security guard called to verify the check after the two men left
      based on their suspicious behavior and was informed that the checks were
      stolen. The store security guard, using video surveillance, followed the men
      out of the store. The store security guard observed the men enter a red 1992
      Saturn with TN licence plate number PFW 986 and drive off. The security
      guard followed the men in his personal vehicle and contacted the police.

              Officer Dyer, of the Knoxville Police Department, approached the
      vehicle which was parked near the Shoe Carnival store within the Turkey
      Creek shopping plaza, and spoke to the vehicle occupant, later identified as
      Michael Crowl. Crowl initially identified himself as James Lee. Ofc. Dyer
      asked Crowl about using stolen checks in SuperTarget. Crowl stated that he
      did not know anything about stolen checks. Ofc. Dyer then asked Crowl
      where the other man could be found. Crowl responded that his friend,
      Marlow, was in the shoe store. Ofc. Dyer observed a man, matching the
      description given by the store security guard, leaving the shoe store and
      walking in the direction of the vehicle. Ofc. Dyer stopped the man and asked
      if his name was Marlow, the man stated that his name was James Dotson.
      Dotson was placed in the back of the patrol car along with Crowl and both men
      were Mirandized. Prior to placing Dotson in the car, Ofc. Dyer conducted a
      pat-down search and recovered one wadded up check in the name of Gary
      Marlow. Dotson was arrested for forgery. Ofc. Dyer conducted a search of
      the vehicle and recovered one Rossi .38 caliber revolver loaded with five
      rounds from inside the glove box, five reams of checks in the name of Gary
      Marlow, one box of .38 caliber ammunition and the merchandise purchased
      from SuperTarget using the stolen check, among other items. The box
      containing the .38 caliber ammunition recovered from the vehicle was
      submitted for fingerprinting. The prints on the outside and inside of the box
      end flap were identified as belonging to Michael Crowl.

             Michael Crowl was previously convicted of the following felony
      offenses:



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               i)      Burglary Other than a Habitation in the
                       Criminal/Circuit Court of Dyer County,
                       Tennessee on July 14, 2000; and

               ii)     Aggravated Assault in the Criminal/Circuit Court
                       of Lauderdale County, Tennessee on June 29,
                       2000.

             The ammunition was examined and it was determined that the
        ammunition was not manufactured in the State of Tennessee.

 [Id., Court File No. 57, Agreed Rule 11 Factual Basis, pp. 1-2].

        Based upon the record, it is clear that Crowl pleaded guilty to a charge supported by

 undisputed facts. He does not allege any constitutional deficiency regarding his guilty plea.

 Crowl acknowledged that he had read the indictment and he signed the written plea

 agreement. Crowl's claim that his attorney failed to provide him with the paperwork

 concerning his case is contradicted by the record. Accordingly, petitioner's allegation of

 ineffective assistance of counsel lacks merit.



                                   B. Sentence Enhancement


        Crowl received a two-level enhancement to his base offense level based upon the fact

 that the firearm and ammunition were stolen. Crowl alleges that the enhancement was

 improper because the enhancement factors were not included in the indictment. Crowl is not

 entitled to relief on this claim for several reasons.

        In his plea agreement, Crowl agreed that he would not file a direct appeal or a motion

 pursuant to 28 U.S.C. § 2255, and he specifically waived his right to collaterally attack his

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 plea or sentence, with the exception of claims of ineffective assistance of counsel or

 prosecutorial misconduct. [Id., Court File No. 56, Plea Agreement, p. 4, ¶ 8]. Such a waiver

 is enforceable. Watson v. United States, 165 F.3d 486, 489 (6th Cir. 1999) ("Accordingly,

 we hold that a defendant's informed and voluntary waiver of the right to collaterally attack

 a sentence in a plea agreement bars such relief."). Crowl thus waived the right to challenge

 the two-level sentence enhancement.

        Furthermore, Crowl's attorney objected to the two-level enhancement for the reason

 that Crowl was not charged with nor did he plead guilty to possession of a firearm. The court

 overruled the objection and Crowl did not appeal the adverse ruling. A defendant who fails

 to challenge a conviction or sentence on direct appeal is barred from raising the same issues

 in a § 2255 proceeding, absent a showing of good cause and prejudice. United States v.

 Frady, 456 U.S. 152, 167-168 (1982). Crowl has made no showing of either cause or

 prejudice, and has therefore procedurally defaulted this claim.

        In any event, Crowl's claim lacks merit. In Apprendi v. New Jersey, 530 U.S. 466

 (2000), the Supreme Court held as follows: "Other than the fact of a prior conviction, any

 fact that increases the penalty for a crime beyond the prescribed statutory maximum must be

 submitted to the jury, and proved beyond a reasonable doubt." Id. at 490. In federal

 prosecutions, such facts must also be charged in the indictment. Id. at 476 (citing Jones v.

 United States, 526 U.S. 227, 243 n.6 (1999)).

        Absent statutory aggravating circumstances, the maximum sentence for being a felon

 in possession of ammunition is ten years. 18 U.S.C. § 924(a)(2). Crowl was sentenced to

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 57 months, which was well under the statutory maximum sentence. Accordingly, any alleged

 failure to charge in the indictment the enhancement factors does not afford Crowl relief.




 IV.    Conclusion


        Crowl is not entitled to relief under § 2255 and his motion to vacate, set aside or

 correct sentence will be DENIED. This action will be DISMISSED. All other pending

 motions are DENIED as MOOT. In addition to the above, this court CERTIFIES that any

 appeal from this action would not be taken in good faith and would be totally frivolous.

 Therefore, this court will DENY Crowl leave to proceed in forma pauperis on appeal. See

 Rule 24 of the Federal Rules of Appellate Procedure. Crowl having failed to make a

 substantial showing of the denial of a constitutional right, a certificate of appealability

 SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate

 Procedure.

        AN APPROPRIATE ORDER WILL ENTER.

                                                          s/ Leon Jordan
                                                    United States District Judge




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